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                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN RE: Cosby Weaver, Joann M                                        Case Number: 08 B 10573
                                                                    Judge: Wedoff, Eugene R
         Printed: 7/29/08                                           Filed: 4/28/08

                                 FINAL REPORT AND ACCOUNT
  The trustee, Marilyn O. Marshall, submits this report to the court pursuant to 11 U.S.C. 1302:

                            Status:       Dismissed: May 22, 2008
                            Confirmed: None


                            SUMMARY OF RECEIPTS & DISBURSEMENTS
                                                      Receipts             Disbursements
                                                        15.97

                                  Secured:                                          0.00
                               Unsecured:                                           0.00
                                 Priority:                                          0.00
                            Administrative:                                         0.00

                                Trustee Fee:                                        0.00
                                Other Funds:                                       15.97
                                      Totals:           15.97                      15.97


                                            DISBURSEMENT DETAIL
   Creditor Name                                       Type                         Repayment              Paid to Date
1. Nations Bank                                        Secured                                           No Claim Filed
2. Popular Financial Services                          Secured                                           No Claim Filed
                                                                                    __________            __________
                                                                                         $ 0.00                  $ 0.00
                                                TRUSTEE FEE DETAIL
                                                      Fee Rate                 Total Fees
                                                                             __________
                                                                                   $ 0.00

  Based on the above information, the trustee requests that the court enter an order discharging
  the trustee, releasing the trustee's surety from liability for actions relating to the above
  proceedings, closing the estate and for such other relief as is proper.

                                                       Marilyn O. Marshall, Trustee, by:
